Case 1:21-cv-00052-LAK Document 18 Filed 01/10/21 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GABRIELLEHOFFMAN, ete, .
Plaintiff,
-against- 21-cv-0052 (LAK)
BRETT RATTNER,
Defendant.
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ORDER CANCELING NOTICE OF PENDENCY

LEWIS A. KAPLAN, District Judge.

The Notice of Pendency filed by plaintiff with the County Clerk of the County of
New York on December 31, 2020 with respect to the property known as 30 East 37th Street,
Apartment 5K, New York, New York 10016 (Block 00866 and Lot 1040) is hereby canceled,
vacated, and rendered null and void and of no effect pursuant to CPLR 6516.

The New York County Clerk is directed to cancel and vacate the Notice of Pendency
and to take any and all other steps necessary to effectuate the cancellation hereby ordered.

SO ORDERED.

Dated: January 10, 2021

 

 

/ Lewis. Sein
ct Judge

United States Dis
